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    8                    UNITED STATES DISTRICT COURT
    9             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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   11   ENTTECH MEDIA GROUP LLC,               Case No. 2:20-cv-06298-JWH-Ex
   12              Plaintiff,
                                               ORDER DENYING AS MOOT
   13        v.                                PLAINTIFF’S MOTIONS FOR
                                               JUDGMENT ON THE PLEADINGS
   14   OKULARITY, INC.;                       [ECF Nos. 88 & 89]
        JON NICOLINI;
   15   BACKGRID USA, INC.;
        SPLASH NEWS AND PICTURE
   16     AGENCY, LLC; and
        XPOSURE PHOTO AGENCY, INC.,
   17
                   Defendants.
   18
        BACKGRID USA, INC.; and
   19   XPOSURE PHOTO AGENCY, INC.,
  20               Counterclaimants,
   21        v.
   22   ENTTECH MEDIA GROUP LLC,
   23              Counterdefendant.
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    1         Before the Court are two motions by Plaintiff and Counterdefendant
    2   ENTTech Media Group LLC for judgment on the pleadings with respect to the
    3   Counterclaim of Defendants and Counterclaimants Xposure Photo Agency and
   4    Backgrid USA, Inc. (jointly, the “Photo Agencies”).1 The Court finds this
    5   matter appropriate for resolution without a hearing. See Fed. R. Civ. P. 78;
    6   L.R. 7-15. After considering the papers filed in support and in opposition,2 the
    7   Court DENIES the Motions, without prejudice, as moot.
    8                                 I. BACKGROUND
    9         This case has an extensive procedural history, which the Court has
   10   summarized in prior orders.3 However, the following events are relevant to the
   11   Motions presently before the Court:
   12         ENTTech filed its Second Amended Complaint on October 16, 2020.4
   13   Shortly thereafter, the Photo Agencies filed a Counterclaim against ENTTech
   14   with respect to the alleged infringing material that was the target of the DMCA
   15   takedown notices.5 On November 13, 2020, in response to the Court’s Order to
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               See Pl.’s Mot. for J. on the Pleadings Against Def. Xposure Photo Agency,
        Inc. (the “Xposure Motion”) [ECF No. 88]; and Pl.’s Mot. for J. on the
   19   Pleadings Against Def. Backgrid USA, Inc. (the “Backgrid Motion”) [ECF
        No. 89] (jointly, the “Motions”). ENTTech’s motion for judgment on the
  20    pleadings with respect to the (earlier) Counterclaim of Defendant and
        Counterclaimant Splash News and Picture Agency, LLC [ECF No. 90], is
   21   currently stayed in view of Splash’s Chapter 11 bankruptcy. See Splash’s Notice
        of Bankruptcy (“Splash’s Bankruptcy Notice”) [ECF No. 95].
  22    2
               The Court considered the following papers in connection with the
   23   Motions: (1) the Motions; (2) Def. Backgrid’s Opp’n to the Backgrid Motion
        [ECF No. 92]; (3) Def. Xposure’s Opp’n to the Xposure Motion [ECF No. 93];
  24    (5) Pl.’s Reply in Supp. of the Xposure Motion [ECF No. 101]; and (6) Pl.’s
        Reply in Supp. of the Backgrid Motion [ECF No. 102].
   25   3
               See Mem. Op. and Order Regarding: (1) Defs.’ Mots. to Dismiss;
        (2) Defs.’ Mot. for Sanctions; and (3) the Order to Show Cause Re Sanctions
  26    (the “Order”) [ECF No. 91].
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   27          Pl.’s Second Am. Compl. (the “SAC”) [ECF No. 46].
        5
               See generally Answer to Pl.’s SAC and Counterclaim to SAC by Defs.
  28    Backgrid, Splash, and Xposure [ECF No. 53].

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    1   Show Cause regarding Rule 11 sanctions,6 ENTTech filed the operative Third
    2   Amended Complaint.7 On November 30, 2020, the Photo Agencies moved to
    3   dismiss the TAC.8 ENTTech filed the instant Motions on March 5, 2021,9
   4    while the Photo Agencies’ Motion to Dismiss was still pending. On March 10,
    5   2021, the Court entered an order granting the Motion to Dismiss in part, with
    6   respect to ENTTech’s RICO claim, and denying the Motion to Dismiss in part,
    7   with respect to ENTTech’s DMCA claim.10 That Order further directed the
    8   Photo Agencies (in addition to the other defendants) to file their respective
    9   pleadings in response to ENTTech’s Third Amended Complaint on or before
   10   March 24, 2021.11 On March 23, 2021, Defendant Splash News and Picture
   11   Agency, LLC filed a Chapter 11 bankruptcy petition in the United States
   12   Bankruptcy Court for the District of Nevada.12 On March 24, 2021, Backgrid
   13   and Xposure timely filed their Answer to ENTTech’s Third Amended
   14   Complaint and a Counterclaim against ENTTech with respect to the alleged
   15   infringing material that was the target of the DMCA takedown notices.13
   16                                  II. DISCUSSION
   17         It is well established that an amended pleading supersedes the original
   18   pleading. See Ferdik v. Bonzelet, 963 F.2d 1258, 1262 (9th Cir. 1992). In this
   19   regard, the Federal Rules of Civil Procedure provide that a counterclaim may
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   21          Order to Show Cause Re Sanctions under Rule 11(c)(3) of the Federal
        Rules of Civil Procedure (the “OSC”) [ECF No. 54].
  22    7
               See Third Am. Compl. (the “TAC”) [ECF No. 57].
        8
   23          See Mot. of the Photo Agencies to Dismiss the TAC [ECF No. 65]; Joint
        Mem. of P. & A. in Supp. of Defs.’ Mots. to Dismiss the TAC [ECF No. 67]
  24    (jointly, the “Motion to Dismiss”).
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               See generally Motions.
   25   10
               See Order.
  26    11
               Id. at 18:17–19.
        12
   27          See Splash’s Bankruptcy Notice.
        13
               See Answer to ENTTech’s TAC and Counterclaim to TAC by Defs.
  28    Backgrid and Xposure (the “Counterclaim”) [ECF No. 96].

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    1   only be asserted in a “pleading.” See Fed. R. Civ. P. 13(a) (“A pleading must
    2   state as a counterclaim . . . .” (emphasis added)); Fed. R. Civ. P. 13(b) (“A
    3   pleading may state as a counterclaim . . . .” (emphasis added)). The only
   4    pleadings permitted under the Federal Rules are the following:
    5         (1) a complaint; (2) an answer to a complaint; (3) an answer to a
    6         counterclaim designated as a counterclaim; (4) an answer to a
    7         crossclaim; (5) a third-party complaint; (6) an answer to a third-
    8         party complaint; and (7) if the court orders one, a reply to an answer.
    9   Fed. R. Civ. P. 7(a).
   10         Accordingly, here, the Third Amended Complaint supersedes the prior
   11   pleading—the Second Amended Complaint—and the pleadings filed in
   12   response to the superseded complaint. Per the Court’s prior Order, the Photo
   13   Agencies were required to file pleadings responsive to the allegations in
   14   ENTTech’s Third Amended Complaint, which they did. And, as they were
   15   permitted to do under the Federal Rules, the Photo Agencies included a
   16   Counterclaim in their pleading in response to the Third Amended Complaint.
   17   The Motions, which are directed toward the Photo Agencies’ superseded
   18   Counterclaim—the Photo Agencies’ response to ENTTech’s superseded
   19   Second Amended Complaint—are therefore moot.
  20                                  III. CONCLUSION
   21         Based upon the foregoing, the Court hereby ORDERS as follows:
  22          1.     ENTTech’s Motions are DENIED, without prejudice, as moot.
   23   The hearing on ENTTech’s Motions is VACATED.
  24          2.     ENTTech is DIRECTED to file its response to the Photo
   25   Agencies’ operative Counterclaim on or before April 21, 2021.
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    1         3.    The video Status Conference currently set for Friday, April 9,
    2   2021, at 9:00 a.m., remains on calendar.
    3         IT IS SO ORDERED.
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    5   Dated: April 7, 2021
                                              John W. Holcomb
    6                                         UNITED STATES DISTRICT JUDGE
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